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                                                                                                                  Exhibit 1




    October 31, 2021

    To Whom it may concern



    This letter is in support of my patient Tiffany Grays, who is seeking reassignment of her case to a virtual
    court venue. I believe my patient is current unable to attend court physically due to being psychiatrically
    disabled by severe symptoms of Post Traumatic Stress Disorder and Major Depressive Disorder that are
    triggered in the presence of uniformed law enforcement personnel. These symptoms include
    hyperarousal and reactivity, including persistent perceptions of heightened current threat and increased
    distress. My patient has a documented history of multiple physical assaults to her person.

    Ms Grays would benefit from being able to avoid the gauntlet of courthouse security and be able to
    present her case via video from the safety of her home.

    Ms Grays also continues to cope with persistent symptoms of Long Covid after inpatient hospitalization
    for Covid19 in April 2021 which include excessive mental and physical fatigue which would also be less
    like exacerbated If she were able to attend court virtually.

    Please feel free to contact me with further questions or concerns

    Respectfully,




    Kathryn Ann Terrill MSN PMHCNS-BC, RXN
    Nurse Practitioner, ANCC Board Certified in Adult Psychiatric Mental Health


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                                                                                                              Exhibit 1




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    U.S. District Court
    District of Colorado
    1929 Stout St.
    Denver, CO. 80294


    To Whom It Most Concerns:                                                                     11/1/2021

           I am writing with the permission and at the request of my Client, Tiffany Grays. Ms.
    Grays expressed to me, that when she attempts to enter the court buildings, she is often
    harassed by the security at the door as well as the supervisor of said security. Due to her past
    traumas with law enforcement, court officials and the consistent and non-stop harassment she
    has experienced that triggers her diagnosis of PTSD. It is my professional recommendation that
    appropriate accommodations are provided to Ms. Grays including but not limited to,
    appointment of counsel.
           Each interaction continues to exacerbate her symptoms and has caused severe
    detriment to her healing process.


    Sincerely,

    Amber
    Amber N. Smith, MA, M.Ed., LPC, RDT


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